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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


   CHRIS HAMMOND, Individually and on         Case No. 9:19-cv-81259-RKA
   Behalf of All Others Similarly Situated,

                       Plaintiff,

                v.

   GREENLANE HOLDINGS, INC.,
   AARON LOCASIO, ETHAN RUDIN,
   ADAM SCHOENFELD, NEIL CLOSNER,
   RICHARD TANEY, JEFF UTTZ, COWEN
   AND COMPANY, LLC, CANACCORD
   GENUITY LLC, LADENBURG
   THALMANN & CO. INC., ROTH
   CAPITAL PARTNERS, LLC, and
   NORTHLAND SECURITIES, INC.,

                       Defendants.


   RANDALL MAYER, Individually and On         Case No. 9:19-cv-81411-DMM
   Behalf of All Others Similarly Situated,

                       Plaintiff,

                v.

   GREENLANE HOLDINGS, INC.,
   AARON LOCASIO, ETHAN RUDIN,
   ADAM SCHOENFELD, NEIL CLOSNER,
   RICHARD TANEY, and JEFF UTTZ,

                       Defendants.



   SCHUYLER HOVERSTEN, STEPHEN DRAKE, RANDALL MAYER AND JEFFREY
    LEVY’S NOTICE OF NON-OPPOSITION TO THE COMPETING MOTION FOR
    CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF
                            LEAD COUNSEL
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          On November 12, 2019, Schuyler Hoversten, Stephen Drake, Randall Mayer, and Jeffrey

  Levy (“Movants”) timely filed a motion for appointment as lead plaintiff, and approval of their

  selection of counsel in connection with the above-captioned securities fraud class actions (Dkt.

  No. 26). One other similar motion was filed by other putative class members in this action (Dkt.

  No. 28).

          The Private Securities Litigation Reform Act of 1995 (“PSLRA”) provides a presumption

  that the “most adequate plaintiff” to represent the interests of class members is the person or

  group that, among other things, has “the largest financial interest in the relief sought by the

  class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). Having reviewed the competing motion and supporting

  papers provided by the other movant seeking appointment as lead plaintiff, it appears that

  Movants do not have the “largest financial interest in the relief sought by the class” as required

  by the PSLRA. As such, Movants do not oppose the lead plaintiff motion of the competing

  movant with a larger financial interest.

          If, however, the Court determines that the competing lead plaintiff movant is incapable or

  inadequate to represent the class in this litigation, Movants remain willing and able to serve as

  lead plaintiff or as class representative.

          By this Notice of Non-Opposition, Movants do not waive their rights to participate and

  recover as class members in this litigation.




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                                     Respectfully submitted,

  Dated: November 26, 2019           DESMOND LAW FIRM, P.C.

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                                     Additional Counsel




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                                      PROOF OF SERVICE

         I, the undersigned say:

         I am not a party to the above case and am over eighteen years old.

         On November 26, 2019, I served true and correct copies of the foregoing document, by

  posting the document electronically to the ECF website of the United States District Court for

  the Southern District of Florida, for receipt electronically by the parties listed on the Court’s

  Service List.

         I affirm under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct. Executed on November 26, 2019, at Vero Beach, Florida.



                                                      s/ Leo W. Desmond
                                                      Leo W. Desmond
